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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


DONALD J. TRUMP, in his capacity as
the 45th President of the United States,


       Plaintiff,

              v.                                    Civil Action No. 21-2769


BENNIE G. THOMPSON, in his official
capacity as Chairman of the United States
House Select Committee to Investigate
the January 6th Attack on the United States
Capitol; THE UNITED STATES HOUSE
SELECT COMMITTEE TO INVESTIGATE
THE JANUARY 6TH ATTACK ON THE
UNITED STATES CAPITOL; DAVID S.
FERRIERO, in his official capacity as
Archivist of the United States; and THE
NATIONAL ARCHIVES AND RECORDS
ADMINISTRATION,


       Defendants.


                                    NOTICE OF APPEAL

      Plaintiff Donald J. Trump hereby gives notice of his appeal to the United States

Court of Appeals for the D.C. Circuit from this Court’s Order denying Motion for

Preliminary Injunction entered on November 9, 2021. (Dkt. No. 36).


      Dated: November 9, 2021                 Respectfully submitted,

                                              /s/ Jesse R. Binnall
                                              Jesse R. Binnall (VA022)
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                                 Counsel for President Donald J. Trump
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                              CERTIFICATE OF SERVICE


      I certify that the foregoing was electronically filed with the Clerk of the Court

using the Court’s CM/ECF system, which will cause a copy to be sent to all counsel of

record.



Dated: November 9, 2021                       /s/ Jesse R. Binnall
                                              Jesse R. Binnall
                                              Counsel for President Donald J. Trump
